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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                  )        CASE NO. 1:11CR12-24
                                           )
                      PLAINTIFF,           )        JUDGE SARA LIOI
                                           )
vs.                                        )
                                           )        ORDER
VINCENT PRICE,                             )
                                           )
                      DEFENDANT.           )

               This matter is before the Court upon Magistrate Judge Nancy A.

Vecchiarelli's Report and Recommendation that the Court ACCEPT Defendant Vincent

Price's ("Defendant") plea of guilty and enter a finding of guilty against Defendant. (Doc.

No. 447.)

               On January 12, 2011, the government filed an Indictment against

Defendant. (Doc. No. 1.) On May 5, 2011, this Court issued an order assigning this case

to Magistrate Judge Vecchiarelli for the purpose of receiving Defendant's guilty plea.

(Doc. No. 325.)

               On July 6, 2011, a hearing was held in which Defendant entered a plea of

guilty to Count 1 of the Indictment, charging him with conspiracy to distribute heroin, in

violation of 21 U.S.C. Sections 841(a)(1), (b)(1)(C) and 846. Magistrate Judge

Vecchiarelli received Defendant's guilty plea and issued a Report and Recommendation

("R&R") recommending that this Court accept the plea and enter a finding of guilty.

(Doc. No. 447.)

               Neither party objected to the Magistrate Judge's R&R in the fourteen days
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after it was issued.

                Upon de novo review of the record, the Magistrate Judge's R&R is

ADOPTED. Specifically, the Court finds as follows: that the defendant is competent to

enter a plea, that he understands his constitutional rights, that he is aware of the

consequences of entering a plea, and that there is an adequate factual basis for the plea.

The Court further finds that the plea was entered knowingly, intelligently, and

voluntarily. Accordingly, the Defendant's plea of guilty is APPROVED.

                Therefore, the Defendant is adjudged guilty of Count 1 in violation of 21

U.S.C. Sections 841(a)(1), (b)(1)(C) and 846. The sentencing will be held on September

14, 2011 at 1:30 p.m.

                IT IS SO ORDERED.



Dated: September 12, 2011
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
